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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA                      Criminal No.: 5:20-cr-00298 (DNH)

               v.

DIMITRIOS ZOURDOS,

                       Defendant.

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                   GOVERNMENT’S REPLY IN RESPONSE TO
            THE SENTENCING MEMORANDUM OF DIMTRIOS ZOURDOS

       The United States of America, by and through the undersigned attorneys, submits this reply

memorandum in response to the sentencing memorandum of defendant Dimitrios Zourdos.

       1.      Defendant Was Central to the Tax Fraud Scheme

       The Government does not deny that Dimitrios is less culpable than his parents, and their

advisory sentencing guidelines calculations (including an aggravating role adjustment for John and

Helen Zourdos) reflect that. However, Dimitrios was a central player in the scheme, and he does

not qualify for a minor role adjustment. Dimitrios managed the most profitable of the three donut

stores; his handwriting was all over the calendar notebooks (including when decimal points were

added after the audit to throw off future auditors); and he ran the entire donut shop operation and

tax fraud conspiracy—including by diverting cash from the drawers directly into his parents’ bank

accounts—while John and Helen were in Greece. That Dimitrios did not engage directly with the

accountants does not undermine his guilt or suggest that he should not be meaningfully punished.

Dimitrios knew that he and his parents were hiding money from the IRS, and he was neck deep in

carrying on that deception and taking (and spending) cash from the drawers that was never

reported. Also, like his parents, Dimitrios continues to deflect blame on others.
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       2.     Defendant Is Responsible for the Tax Loss Resulting from The Entire
              Conspiracy in Which He Participated

       Defendant Dimitrios Zourdos contends that the PSR’s calculation of tax loss is wrong,

claiming the loss is somewhere between $550,000 and $1.5 million, relying upon and

incorporating the contentions of defendants John and Helen Zourdos. Defs’ Br. at 7. He then

contends that the loss should be lower (level 20) because he had less involvement in the conspiracy

and no involvement in the preparation of the tax returns. Id.

       The PSR correctly computes the tax loss for Dimitrios (but for one subsequent additional

adjustment by RA Petrick, see Gov. App. Ex.1, A-0001-007), which is $2,000,769. Rather than

reiterate our responses to John and Helen’s arguments, the Government incorporates them here by

reference. See Gov’t Reply to John/Helen Br., at 3-7; Gov’t Opening Br. at 5-8.

       In addition, Dimitrios misstates the legal standard for determining loss, as well as his role

in the conspiracy. He is responsible for all foreseeable losses he helped cause as a participant in

the conspiracy for which he was convicted, even if he was a less culpable participant than his

parents. Dimitrios managed the most profitable store (where the most taxes were evaded); his

handwriting was all over the second set of books; he began doctoring the second set of books to

conceal sales after the initiation of an audit; he personal diverted and deposited unreported cash

sales into his accounts and his parents accounts; he paid employees under the table; and he ran the

entire Dippin Donuts operation, and tax fraud conspiracy, when his parents went on their annual

trips to Greece. That he did not himself participate in tax return preparation is of no moment: that

was not his job in the conspiracy. Given his role and what he actually did do, the jury easily found,

and the Court affirmed after post-trial briefing, that Dimitrios knew tax fraud was being committed

through the filing of false returns, for both him and his parents, which he helped facilitate. While

Dimitrios may not have benefitted as much from the tax fraud as his parents, the computation of

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tax loss is based on the foreseeable harm caused to the victim, not a measure of benefit to the

defendants.

       3.      Defendant Encouraged Others to Break the Law

       Defendant contends a section 2T1.9(b)(2) enhancement for encouraging others to violate

the law should not apply to him because he did not set up the payroll system, had no involvement

in the back-end management of the payroll system, and did not know taxes were not being withheld

from the cash payments to employees. Def.’s Br. at 8. But the trial evidence was that Dimitrios

managed the RDZ location for years, not just when his parents were away in Greece, and

personally delivered cash payroll for overtime hours to employees, as he acknowledges in his brief.

See Tr. 99:23-104:3 (Brittany Labuz); Tr. 138:18-139:24 (Whitney Sykes); 348:12-358:5 (Shane

McRae); 400:8-402:16 (Catalina Lyness); 422:18-424:15 (Angela Layman); 757:13-758:22 (Tyler

Falcone). He paid himself in virtually the same way (part by payroll check which he deposited

along with substantially more cash). Tr. 991:24-993:14; Govt. Exs. 351-A; 351-B. He also helped

his parents with their evasion scheme during their annual trips to Greece by making deposits to

their accounts while they were away, see Tr. 346:17-22.

       There was only one reason for paying employees in cash: Dimitrios and everyone else

(with the possible exception of the exploited minor employees) understood that cash is less

traceable such that it would be easy to not account for it on tax returns, especially where it did not

appear on the corresponding paystubs.

       It is irrelevant that Dimitrios’s parents were the ones who set up the cash payroll system in

the first place or that John Zourdos delivered the cash payroll to employees more often than

Dimitrios. The evidence was that Dimitrios did pay some employees in cash and, thus, knew taxes

were being evaded. Like his parents, Dimitrios participated in paying employees in cash for



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overtime to compensate them for overtime hours by allowing them (and Dippin Donuts) to save

on taxes by not reporting the cash wages (which is why Dimitrios likewise took part of his overall

compensation in cash). In this way, Dimitrios encouraged others to violate the law, even if his

parents were more culpable in this respect. Accordingly, the PSR appropriately applies a two-

level enhancement under 2T1.9(b)(2) as to Dimitrios.

                                        CONCLUSION

       For the foregoing reasons, the Government respectfully recommends that this Court impose

a substantial term of incarceration for Dimitrios Zourdos within his advisory guidelines range.

Dated: July 5, 2022                                 Respectfully submitted,

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